                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

 ANTHONY FRANCHI, Individually and On            )
 Behalf of All Others Similarly Situated,        )
                                                 )
                      Plaintiff,                 ) Case No. 1:18-cv-01203-MN
                                                 )
        v.                                       ) CLASS ACTION
                                                 )
 ENERGY XXI GULF COAST, INC., GARY               ) JURY TRIAL DEMANDED
 HANNA, DOUGLAS E. BROOKS,                       )
 MICHAEL S. BAHORICH, GABRIEL L.                 )
 ELLISOR, STANFORD SPRINGEL, and                 )
 CHARLES W. WAMPLER,                             )
                                                 )
                      Defendants.                )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Anthony

Franchi (“Plaintiff”) hereby voluntarily dismisses the above-captioned action (the “Action”)

without prejudice. Defendants have filed neither an answer nor a motion for summary judgment

in the Action.

 Dated: September 19, 2018                        RIGRODSKY & LONG, P.A.

                                             By: /s/ Brian D. Long
                                                 Brian D. Long (#4347)
 OF COUNSEL:                                     Gina M. Serra (#5387)
                                                 300 Delaware Avenue, Suite 1220
 RM LAW, P.C.                                    Wilmington, DE 19801
 Richard A. Maniskas                             Telephone: (302) 295-5310
 1055 Westlakes Drive, Suite 300                 Facsimile: (302) 654-7530
 Berwyn, PA 19312                                Email: bdl@rl-legal.com
 Telephone: (484) 324-6800                       Email: gms@rl-legal.com
 Facsimile: (484) 631-1305
 Email: rm@maniskas.com                           Attorneys for Plaintiff
